             Case 5:18-cr-00258-EJD Document 1247 Filed 01/11/22 Page 1 of 5




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 9 Attorneys for Defendant ELIZABETH A. HOLMES

10

11                               UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                 )   Case No. CR-18-00258-EJD
15                                             )
            Plaintiff,                         )   STIPULATION AND JOINT MOTION TO
16                                             )   SCHEDULE SENTENCING HEARING AND TO
       v.                                      )   EXTEND TIME TO FILE POST-TRIAL
17                                             )   MOTIONS UNDER RULES 29, 33, 34
     ELIZABETH HOLMES and                      )
18   RAMESH “SUNNY” BALWANI,                   )
                                               )   Hon. Edward J. Davila
19          Defendants.                        )
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     STIPULATION AND JOINT MOTION TO SCHEDULE SENTENCING HEARING AND TO
     EXTEND TIME TO FILE POST-TRIAL MOTIONS UNDER RULES 29, 33, 34
     CR-18-00258 EJD
             Case 5:18-cr-00258-EJD Document 1247 Filed 01/11/22 Page 2 of 5




 1    STIPULATION AND JOINT MOTION TO SCHEDULE SENTENCING HEARING AND TO

 2         EXTEND TIME TO FILE POST-TRIAL MOTIONS UNDER RULES 29, 33, AND 34

 3
            PLEASE TAKE NOTICE that the parties will and hereby do respectfully move to schedule a
 4
     sentencing hearing and pursuant to Fed. R. Crim. P. 45 for an extension of time to file post-trial motions
 5
     under Fed. R. Crim. P. 29, 33, and 34, and for an extended briefing schedule. The Motion is based on
 6
     the below Memorandum of Points and Authorities, the record in this case, and any other matters that the
 7
     Court deems appropriate.
 8

 9
     DATED: January 11, 2022
10

11
                                                          /s/ Amy Mason Saharia
12                                                        KEVIN DOWNEY
                                                          LANCE WADE
13                                                        AMY MASON SAHARIA
                                                          KATHERINE TREFZ
14                                                        Attorneys for Elizabeth Holmes
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28 STIPULATION AND JOINT MOTION TO SCHEDULE SENTENCING HEARING AND TO
   EXTEND TIME TO FILE POST-TRIAL MOTIONS UNDER RULES 29, 33, 34
   CR-18-00258 EJD
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              Case 5:18-cr-00258-EJD Document 1247 Filed 01/11/22 Page 3 of 5




 1              STIPULATION AND MEMORANDUM OF POINTS AND AUTHORITIES

 2          The parties jointly stipulate and move as follows:

 3          WHEREAS the government intends to dismiss Counts 3, 4, and 5 of the indictment, ECF 469, on

 4 which the jury did not return a verdict, ECF 1235, and will file a motion to dismiss those counts by

 5 Friday, January 14, 2022;

 6          WHEREAS the parties have agreed to certain modifications of Ms. Holmes’ bond, whereby the

 7 $500,000 bond will be secured by property identified to Pretrial Services;

 8          WHEREAS the parties agree that a sentencing hearing following Labor Day 2022 would be

 9 appropriate in light of ongoing proceedings in a related matter;

10          WHEREAS, absent extension, Ms. Holmes’ post-trial motions under Fed. R. Crim. P. 29, 33,

11 and/or 34 are due to be filed on January 18, 2022,

12          WHEREAS the parties agree that good cause exists to extend the time within which to file and

13 brief post-trial motions under Fed. R. Crim. P. 29, 33, and/or 34 in light of the size of the record in this

14 case, and the logistical burden on the Court and government associated with the upcoming trial in

15 United States v. Balwani, 18-cr-258-EJD-2; AND

16          WHEREAS the parties have agreed to the briefing schedule set forth below;

17          NOW THEREFORE, the parties jointly move the Court for a sentencing hearing at 1:30pm PST

18 September 12, 2022;

19          AND the parties jointly move the Court under Fed. R. Crim. P. 45 for an extension of time for

20 Ms. Holmes to file post-trial motions under Fed. R. Crim. P. 29, 33, and 34 to March 4, 2022 and for the

21 issuance of the following briefing schedule:

22          March 4, 2022: Ms. Holmes’ motions under Rules 29, 33, and 34

23          April 29, 2022: Government oppositions

24          May 27, 2022: Ms. Holmes’ replies

25                                                CONCLUSION

26          For the foregoing reasons, Court should grant this joint motion and enter the attached stipulated

27 proposed order.

28 STIPULATION AND JOINT MOTION TO SCHEDULE SENTENCING HEARING AND TO
   EXTEND TIME TO FILE POST-TRIAL MOTIONS UNDER RULES 29, 33, 34
   CR-18-00258 EJD
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          Case 5:18-cr-00258-EJD Document 1247 Filed 01/11/22 Page 4 of 5




 1 DATED: January 11, 2022                  Respectfully submitted,

 2                                          /s/ Amy Mason Saharia
                                            KEVIN DOWNEY
 3                                          LANCE WADE
                                            AMY MASON SAHARIA
 4                                          KATHERINE TREFZ
                                            Attorneys for Elizabeth Holmes
 5

 6                                          STEPHANIE M. HINDS
                                            Acting United States Attorney
 7
                                            /s/ Robert S. Leach
 8                                          JEFFREY SCHENK
                                            JOHN C. BOSTIC
 9                                          ROBERT S. LEACH
                                            KELLY I. VOLKAR
10                                          Assistant United States Attorneys
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28 STIPULATION AND JOINT MOTION TO SCHEDULE SENTENCING HEARING AND TO
   EXTEND TIME TO FILE POST-TRIAL MOTIONS UNDER RULES 29, 33, 34
   CR-18-00258 EJD
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            Case 5:18-cr-00258-EJD Document 1247 Filed 01/11/22 Page 5 of 5




 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on January 11, 2022 a copy of this filing was delivered via ECF on all
 3 counsel of record.

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 5                                                      /s/ Amy Mason Saharia
                                                        AMY MASON SAHARIA
 6                                                      Attorney for Elizabeth Holmes

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     STIPULATION AND JOINT MOTION TO SCHEDULE SENTENCING HEARING AND TO
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     CR-18-00258 EJD
